  JS 44 (Rev. 12/07)                             CIVIL COVER
                             Case 2:18-cv-00669-JCM-NJK DocumentSHEET
                                                                 1 Filed 04/13/18 Page 1 of 14
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS                                                                                           DEFENDANTS
FRANK INCAVIGLIA AND KATHLEEN INCAVIGLIA                                                              ADVANCE GROUP, INC. D/B/A RAPID CASH et al

(b) County of Residence of First Listed Plaintiff            County of Clark                            County of Residence of First Listed Defendant
                         (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (EXCEPT IN U.S. PLAINTIFF CASES)
                                                                                                      NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE LAND
                                                                                                                  INVOLVED.
(c) Attorney’s (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
David Krieger, Esq., HAINES & KRIEGER, LLC, 8985 S. Eastern Ave., Suite 350,
Henderson, NV 89123, 702-880-5554, dkrieger@hainesandkrieger.com

II. BASIS OF JURISDICTION                      (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                      and One Box for Defendant)
  1    U.S. Government                  3 Federal Question                                                                     PTF      DEF                                          PTF      DEF
         Plaintiff                          (U.S. Government Not a Party)                       Citizen of This State            1         1     Incorporated or Principal Place          4      4
                                                                                                                                                 of Business In This State

  2    U.S. Government                  4 Diversity                                             Citizen of Another State           2         2   Incorporated and Principal Place         5       5
         Defendant                                                                                                                                  of Business In Another State
                                             (Indicate Citizenship of Parties in Item III)
                                                                                                Citizen or Subject of a            3         3   Foreign Nation                           6       6
                                                                                                  Foreign Country
IV. NATURE OF SUIT                    (Place an “X” in One Box Only)
         CONTRACT                                          TORTS                                  FORFEITURE/PENALTY                       BANKRUPTCY                      OTHER STATUTES
  110 Insurance                     PERSONAL INJURY                  PERSONAL INJURY              610 Agriculture                      422 Appeal 28 USC 158            400 State Reapportionment
  120 Marine                         310 Airplane                     362 Personal Injury -       620 Other Food & Drug                423 Withdrawal                   410 Antitrust
  130 Miller Act                     315 Airplane Product                 Med. Malpractice        625 Drug Related Seizure                 28 USC 157                   430 Banks and Banking
  140 Negotiable Instrument              Liability                   365 Personal Injury -            of Property 21 USC 881                                            450 Commerce
  150 Recovery of Overpayment        320 Assault, Libel &                 Product Liability       630 Liquor Laws                      PROPERTY RIGHTS                  460 Deportation
     & Enforcement of Judgment           Slander                     368 Asbestos Personal        640 R.R. & Truck                     820 Copyrights                   470 Racketeer Influenced and
  151 Medicare Act                   330 Federal Employers’               Injury Product          650 Airline Regs.                    830 Patent                           Corrupt Organizations
  152 Recovery of Defaulted              Liability                        Liability               660 Occupational                     840 Trademark                    480 Consumer Credit
      Student Loans                  340 Marine                    PERSONAL PROPERTY                   Safety/Health                                                    490 Cable/Sat TV
      (Excl. Veterans)               345 Marine Product              370 Other Fraud              690 Other                                                             810 Selective Service
  153 Recovery of Overpayment            Liability                   371 Truth in Lending                   LABOR                      SOCIAL SECURITY                  850 Securities/Commodities/
      of Veteran’s Benefits          350 Motor Vehicle               380 Other Personal           710 Fair Labor Standards             861 HIA (1395ff)                     Exchange
  160 Stockholders’ Suits            355 Motor Vehicle                   Property Damage              Act                              862 Black Lung (923)             875 Customer Challenge
  190 Other Contract                     Product Liability           385 Property Damage          720 Labor/Mgmt. Relations            863 DIWC/DIWW (405(g))               12 USC 3410
  195 Contract Product Liability     360 Other Personal                  Product Liability        730 Labor/Mgmt.Reporting             864 SSID Title XVI               890 Other Statutory Actions
  196 Franchise                          Injury                                                      & Disclosure Act                  865 RSI (405(g))                 891 Agricultural Acts
     REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             740 Railway Labor Act                FEDERAL TAX SUITS                892 Economic Stabilization Act
  210 Land Condemnation              441 Voting                      510 Motions to Vacate        790 Other Labor Litigation           870 Taxes (U.S. Plaintiff        893 Environmental Matters
  220 Foreclosure                    442 Employment                      Sentence                 791 Empl. Ret. Inc.                       or Defendant)               894 Energy Allocation Act
  230 Rent Lease & Ejectment         443 Housing/                    Habeas Corpus:                   Security Act                     871 IRS—Third Party              895 Freedom of Information
  240 Torts to Land                     Accommodations               530 General                                                           26 USC 7609                      Act
  245 Tort Product Liability         444 Welfare                     535 Death Penalty                IMMIGRATION                                                       900Appeal of Fee Determination
  290 All Other Real Property        445 Amer. w/Disabilities -      540 Mandamus & Other         462 Naturalization Application                                            Under Equal Access
                                        Employment                   550 Civil Rights             463 Habeas Corpus -                                                       to Justice
                                     446 Amer. w/Disabilities -      555 Prison Condition            Alien Detainee                                                     950 Constitutionality of
                                        Other                                                     465 Other Immigration                                                     State Statutes
                                     440 Other Civil Rights                                          Actions




V. ORIGIN                  (Place an “X” in One Box Only)                                                                                                                           Appeal to District
  1 Original                2 Removed from                  3 Remanded from                   4 Reinstated or             5 Transferred  from
                                                                                                                            another district        6 Multidistrict            7 Judge from
                                                                                                                                                                                 Magistrate
       Proceeding              State Court                        Appellate Court               Reopened                                   Litigation
                                                                                                                  (specify)                                                         Judgment
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                      15 U.S.C. §1693 et seq. (“EFTA”) and NRS 604A
VI. CAUSE OF ACTION Brief description of cause:
                     Violations of the Electronic Funds Transfer act and high-interest lending
VII. REQUESTED IN        CHECK IF THIS IS A CLASS ACTION       DEMAND $                       CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDERF.R.C.P.23                                                       JURYDEMAND:            Yes       No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                                JUDGE                                        DOCKET NUMBER

DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD

       April 13, 2018                                    /s/ David Krieger, Esq.
FOR OFFICE USE ONLY

 RECEIPT #                     AMOUNT                                    APPLYING IFP                                     JUDGE                         MAG. JUDG
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Attorney for Plaintiffs
FRANK INCAVIGLIA AND KATHLEEN INCAVIGLIA

                    UNITED STATES DISTRICT COURT
                         DISTRICT OF NEVADA

                                          :
FRANK INCAVIGLIA and                      :
KATHLEEN INCAVIGLIA,                      : Civil Action No.: ______
                                          :
                   Plaintiffs,            :
      v.                                  :
                                          :
FMMR INVESTMENTS D/B/A                    : COMPLAINT
RAPID CASH; and WELLS FARGO               :
BANK, N.A.,                               :
                                          :
                   Defendants.

      For this Complaint, the Plaintiffs, FRANK INCAVIGLIA AND

KATHLEEN INCAVIGLIA, by undersigned counsel, states as follows:


                                 JURISDICTION

      1.    Congress has also found that the use of electronic systems to transfer

funds provides the potential for substantial benefit to consumers. Due to the unique

characteristics of such systems, Congress passed the Electronic Funds Transfer Act
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to provide a basic framework establishing the rights, liabilities, and responsibilities

of participants in electronic funds transfer system, most particularly, to provide

consumers with individual rights. Along these lines this matter arises out of the

Electronic Fund Transfers Act, 15 U.S.C. §1693 et seq. (“EFTA”) against the

Defendants as further described herein.

      2.     This action also arises out of ADVANCE GROUP, INC. D/B/A

RAPID CASH (“Rapid Cash”)’s violations of Nevada Revised Statutes Chapter

604A.010 et seq. (“NRS 604A”), and the harassment of Plaintiffs by Rapid Cash

and its agents in Rapid Cash’s illegal efforts to collect a high-interest loan as

defined under this Chapter.

      3.     Plaintiffs allege the following based upon personal knowledge as to

Plaintiffs and Plaintiffs’ own acts and experiences, and, as to all other matters,

upon information and belief, including investigation conducted by Plaintiffs’

attorneys.

      4.     Rapid Cash has through its conduct in collecting a loan governed by

NRS 604A violated NRS 604A.415.

      5.     Defendant ADVANCE GROUP, INC. D/B/A RAPID CASH is a

“licensee” as that term is defined by NRS 604A.

      6.     NRS 604A.415 incorporates the Fair Debt Collection Practices Act

(FDCPA), as amended, 15 U.S.C. §§ 1692a to 1692j, which applies herein “even if
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the licensee is not otherwise subject to the provisions of the [FDCPA].”

      7.     Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367 and this

Court has original jurisdiction over Plaintiff’s TCPA claims pursuant to 28 U.S.C.

§ 1331. Mims v. Arrow Fin. Serv., LLC, 132 S.Ct. 740 (2012).

      8.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) &

(c), because Plaintiffs reside within the District of Nevada, a substantial portion of

the events or omissions giving rise to the claim occurred in this District, and

Defendants regularly conducts business in this District.

                                     PARTIES
      9.     The Plaintiffs, FRANK INCAVIGLIA and KATHLEEN

INCAVIGLIA (“Plaintiffs” or “Mr. and Mrs. Incaviglia”), are adults residing in

Las Vegas, Nevada.

      10.    Defendant Rapid Cash is doing business in the State of Nevada.

      11.    Rapid Cash at all times acted by and through one or more of its agents

or collectors (the “Collectors”).

      12.    Defendant WELLS FARGO BANK, N.A. (“Defendant” or “Wells

Fargo”), is doing business in the State of Nevada at all relevant times herein.

              ALLEGATIONS APPLICABLE TO ALL COUNTS

A. The Debt


      13.    Plaintiffs allegedly incurred a financial obligation (the “Debt”) to
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Rapid Cash (the “Creditor”).

        14.   The Debt was a “high-interest loan” as defined by NRS 604A.0703.

        15.   NRS 604A.415 provides that:

              If a customer defaults on a loan, the licensee may collect
              the debt owed to the licensee only in a professional, fair
              and lawful manner. When collecting such a debt, the
              licensee must act in accordance with and must not violate
              sections 803 to 812, inclusive, of the federal Fair Debt
              Collection Practices Act, as amended, 15 U.S.C. §§
              1692a to 1692j, inclusive, even if the licensee is not
              otherwise subject to the provisions of that Act.

        16.   As such, a violation of the Fair Debt Collection Practices Act

(FDCPA) a though j is also a violation of NRS 604A.415.

                                       FACTS

        17.   In October 2017, the Plaintiffs decided to talk with an attorney to help

manage their various financial obligations which had become overwhelming to

them.

        18.   They decided that the best way to repay their creditors was through a

Chapter 13 bankruptcy (in which their creditors would be paid through a structured

plan). To that end, Plaintiffs hired a Chapter 13 bankruptcy attorney.

        19.   After hiring a law firm, the Plaintiffs contacted Defendant, Wells

Fargo, on October 24, 2017 at 9:29 AM at 1-800-869-3556 and spoke with a Wells

Fargo representative named “Armando”.

        20.   They advised Wells Fargo’s account representative, Armando, that
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they wanted to de-authorize and disallow any further drafts on their account from

Rapid Cash.

      21.     Armando advised the Plaintiffs their account would be “blocked”

from any further drafts attempted by Rapid Cash and assured the Plaintiffs no

funds would be taken from their account based on any prior authorizations

provided to Rapid Cash or Wells Fargo. This was confirmed with a reference No.

E0818541300.

      22.     Immediately after completing their conversation with Wells Fargo, the

Plaintiffs contacted Rapid at each of the following numbers: 702-222-2274, 702-

436-1074, 1-800-856-2911 (the “C&D Calls”).

      23.     During each of the C&D Calls the Plaintiffs advised Rapid Cash they

were de-authorizing any electronic withdrawals from their Wells Fargo bank

account and that their consent to Rapid Cash to debit funds was withdrawn.

      24.     They advised Rapid Cash’s representatives that they were also

represented by an attorney and to direct future communications to their attorney

and provided (or attempted to provide) Rapid Cash’s agents with their attorney’s

contact information.

      25.     However, in complete disregard of the above, Rapid Cash continued

drafting funds from the Plaintiffs’ Wells Fargo bank account despite having no

consent to do so.
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      26.    Wells Fargo was also to blame because Wells Fargo continued

allowing Rapid Cash to electronically withdraw funds even after it was instructed

(and agreed) to prevent such attempts from Rapid Cash as of October 24, 2017

9:29AM.

      27.    The above electronic withdrawals made by Rapid Cash - and

permitted by Wells Fargo - were made via electronic withdraws from Plaintiffs’

personal Wells Fargo bank “account” as defined by 15 U.S.C. §1693a(2) and 12

C.F.R. 1005.2(b)(1).

      28.    The withdrawals discussed herein were electronic funds transfers as

defined by 15 U.S.C. §1693a(7).

      29.    The above withdrawals made by Rapid Cash and allowed by Wells

Fargo were each unauthorized electronic funds transfers as defined by 15 U.S.C.

§1693a(12) and 12 C.F.R. 1005.2(m), thereby violating 15 U.S.C. §1693, et seq.

since the Plaintiffs’ did not authorize Wells Fargo or Rapid Cash to make or allow

any withdrawals from the Wells Fargo account as of October 24, 2017.

      30.    However, Rapid Cash and Wells Fargo, after October 24, 2017

9:29AM wrongfully and illegally permitted Rapid Cash to withdraw at least

$439.77 from the Plaintiffs Wells Fargo bank account.

      31.    By withdrawing the aforementioned funds, Defendant deprived and/or

prevented access to Plaintiff’s funds to pay bills and other necessities. Even after
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several weeks, the ill-gotten funds remained unreturned to the Plaintiffs.

      32.    Additionally, the Rapid Cash loan then went into default and Rapid

Cash collection agents commenced collection against the Plaintiffs.

      33.    Specifically, Rapid Cash placed numerous collection calls to the

Plaintiffs after October 24, 2017 even though Rapid Cash was aware that the

Plaintiffs were represented by Counsel and should have directed its collection calls

to their Counsel.

      34.    This suit results.

B. Plaintiff Suffered Actual Damages

      35.    The Plaintiffs suffered and continue to suffer actual damages as a

result of RAPID CASH’s and Wells Fargo’s unlawful conduct.

      36.    Further, Plaintiffs allege that Defendants’ actions at all times herein

were “willful.”

      37.    As a direct consequence of Rapid Cash’s harassing phone calls, acts,

practices and conduct, the Plaintiffs each suffered and continues to suffer from

anger, anxiety, emotional distress, frustration, rage, and have otherwise been

totally annoyed by Rapid Cash’s intrusive and illegal collection efforts and

improper theft of their funds.

      38.    Plaintiffs also lost funds which Rapid Cash was not authorized to take

and which Wells Fargo was not authorized to transfer to Rapid Cash.
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      39.    Plaintiffs contemplated filing bankruptcy as a result of Defendant’s

illegal conduct to stop harassing calls in the future. Indeed they have done so.

                                      COUNT I

                  Violations of the FDCPA as to RAPID CASH
                    (as incorporated through NRS 604A.415)

      40.    The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      41.    Any violation of 15 U.S.C. §§ 1692a through j constitutes a violation

of NRS 604A.415.

      42.    Rapid Cash’s conduct violated 15 U.S.C. § 1692c(a)(2) in that Rapid

Cash contacted the Plaintiffs after it knew Plaintiffs were represented by an

attorney.

      43.    Rapid Cash’s conduct violated 15 U.S.C. § 1692e(5) in that Rapid

Cash threatened to take action against the Plaintiffs which it could not legally take

or did not intend to take in collection of a debt. Namely, by continuing to illegally

draft funds from their Wells Fargo account even after consent to do so was

revoked.

      44.    Rapid Cash’s conduct violated 15 U.S.C. § 1692f in that Rapid Cash

used unfair and unconscionable means to collect a debt and attempted to humiliate

and belittle Plaintiffs. Specifically, by disregarding Plaintiffs’ de-authorization to

electronically transfer funds from their Wells Fargo account, and continuing
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remove monies in violation of the EFTA.

      45.     The foregoing acts and omissions of the Rapid Cash constitute

numerous and multiple violations of the FDCPA (and therefore also constitute

violations of NRS 604A.415), including every one of the above-cited provisions.

      46.     The Plaintiffs are entitled to damages as a result of Rapid Cash’s

violations.

      47.     The Plaintiffs have been required to retain the undersigned as counsel

to protect the Plaintiffs’ legal rights to prosecute this cause of action, and is

therefore entitled to an award or reasonable attorneys’ fees plus costs incurred.

                               COUNT II

         Violations of the EFTA as to ALL DEFENDANTS
                      (15 U.S.C. § 1693 ET SEQ.)

      48.     Plaintiffs restate and incorporate herein all of their statements and

allegations contained in the preceding paragraphs in their entirety, as if fully

rewritten.

      49.     The foregoing acts and omissions constitute violations of the EFTA

by Wells Fargo and Rapid Cash.

      50.     As a result of each and every negligent violation of the EFTA, each

Plaintiff is entitled to actual damages pursuant to 15 U.S.C. §1693m(a)(1);

statutory damages pursuant to 15 U.S.C. §1693m(a)(2)(A); and reasonable

attorneys’ fees and costs pursuant to 15 U.S.C. §1693m(a)(3).
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                               PRAYER FOR RELIEF

      WHEREFORE, the Plaintiffs pray that judgment be entered against the

Defendants awarding the Plaintiffs:

      1. consequential damages pursuant to NRS 604A.930 against Rapid Cash

         for each Plaintiff;

      2. statutory damages pursuant to NRS 604A.930 against Rapid Cash for

         each Plaintiff;

      3. an award of actual damages pursuant to NRS 604A.930 against Rapid

         Cash for each Plaintiff;

      4. an award of punitive damages pursuant to NRS 604A.930 (or as may be

         otherwise recoverable) against Rapid Cash for Plaintiffs;

      5. an award of costs of litigation and reasonable attorney’s fees pursuant to

         NRS 604A.930 against Rapid Cash for Plaintiffs;

      6. “void” the Rapid Cash Debt, bar Rapid Cash from collecting thereon, and

         compel Rapid Cash to turnover any principal, interest or other charges or

         fees collected on the Debt pursuant to NRS 604A.900(1).

      7. An award of actual damages pursuant to 15 U.S.C. §1693m(a)(1) against

         each Defendant;
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     8. An award of statutory damages of not less than $100, and not more than

        $1,000.00, pursuant to 15 U.S.C. §1693m(a)(2)(A) against each

        Defendant;

     9. An award of costs of litigation and reasonable attorneys’ fees pursuant to

        15 U.S.C. §1693m(a)(3);

     10.General and special damages in an amount to proven; and

     11.Any other legal or equitable relief that the court deems appropriate.

            TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: April 13, 2018
                                      Respectfully submitted,

                                      By     /s/David Krieger, Esq.
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                                             FRANK INCAVIGLIA AND KATHLEEN
                                             INCAVIGLIA
     Case 2:18-cv-00669-JCM-NJK Document 1 Filed 04/13/18 Page 13 of 14



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FRANK INCAVIGLIA AND KATHLEEN INCAVIGLIA

                      UNITED STATES DISTRICT COURT
                           DISTRICT OF NEVADA

                              :
FRANK INCAVIGLIA AND          :
KATHLEEN INCAVIGLIA,          :
                              :
              Plaintiff,      : Civil Action No.: ______
    v.                        :
                              :
FMMR INVESTMENTS D/B/A RAPID :
CASH; WELLS FARGO BANK, N.A., :
                              :
              Defendant.      :

   DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER
 ENTITIES WITH A DIRECT FINANCIAL INTEREST IN LITIGATION

      Pursuant to Fed.R.Civ.P. 7.1 and Local Civil Rule 7.3, or Fed.R.Crim.P.

12.4 and Local Criminal Rule 12.3, FRANK INCAVIGLIA AND KATHLEEN

INCAVIGLIA who is Plaintiff, makes the following disclosure:

         1. The party is not a publicly held corporation or other publicly held

            entity.
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         2. The party does not have a parent corporation.

         3. There is no 10% or more of the stock of a party owned by a publicly

            held corporation or other publicly held entity.

         4. There is no any other publicly held corporation or other publicly held

            entity that has a direct financial interest in the outcome of the

            litigation.

         5. The party is not a trade association.

         6. The case does not arise out of a bankruptcy proceeding, but the

            Plaintiff are in an active Chapter 13 filed in Nevada bearing Doc. No.

            17-16352-LED.

Dated: April 13, 2018
                                       Respectfully submitted,

                                       By     /s/David Krieger, Esq.
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